                            Case:14-04375-jtg             Doc #:69 Filed: 05/04/18               Page 1 of 3
                                               United States Bankruptcy Court
                                               Western District of Michigan
In re:                                                                                                     Case No. 14-04375-jtg
Andrea J. Averill                                                                                          Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0646-1                  User: admin                        Page 1 of 1                          Date Rcvd: May 02, 2018
                                      Form ID: domcrt                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 04, 2018.
db             +Andrea J. Averill,   13396 Lime Lake Dr.,   Sparta, MI 49345-9523

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 04, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 2, 2018 at the address(es) listed below:
              Brett N. Rodgers   ecf@rodgersch13.com, ecfbnrbackup@trustee13.com
              John D. Stoddard   on behalf of Creditor   Wells Fargo Dealer Services
               bankruptcy@fabriziobrook.com
              Marla A. Skeltis   on behalf of Creditor   Fifth Third Mortgage Company mskeltis@rsmalaw.com,
               bankruptcy@rsmalaw.com
              Stephen C. Corwin   on behalf of Debtor Andrea J. Averill Admin@corwinlawyers.com
                                                                                            TOTAL: 4
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Form DOMCRT (08/12)
                                          United States Bankruptcy Court
                                           Western District of Michigan
                                               One Division Ave., N.
                                                     Room 200
                                              Grand Rapids, MI 49503


IN RE: Debtor (name used by the debtor in the last 8 years,
including married, maiden, trade, and address):
                                                                  Case Number 14−04375−jtg
        Andrea J. Averill
        13396 Lime Lake Dr.                                       Chapter 13
        Sparta, MI 49345−0186
        SSN: xxx−xx−4738                                          Honorable John T. Gregg
                                                      Debtor



                            DEBTOR'S CERTIFICATION REGARDING
                 DOMESTIC SUPPORT OBLIGATION PURSUANT TO 11 U.S.C. § 1328(a)

  The debtor(s) in the above−referenced matter certify as follows:



      Debtor       Spouse              I have not been required by a judicial or administrative order, or by
                                       statute, to pay any Domestic Support Obligation as defined in 11 U.S.C.
                                       § 101(14A), either before this proceeding was filed, or at any time after
                                       the date of filing.

                                                                        −OR−


      Debtor       Spouse              I have paid all amounts that I am required to pay under any judicial or
                                       administrative order, or statutes, for a Domestic Support Obligation as
                                       defined in 11 U.S.C. § 101(14A), including all amounts that came due
                                       after the petition was filed and pre−petition arrears to the extend
                                       provided for in the plan.

   I declare under penalty of perjury that the information provided in the Certificate is true and correct.


Date: ______________________                                        ___________________________
                                                                    Debtor


Date: ______________________                                        ___________________________
                                                                    Joint Debtor(if applicable)
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